The petition in error and appeal must be dismissed. It has repeatedly been held by this court that, where the record fails to contain a copy of the final order or judgment sought to be reviewed, and in which it is not made to appear that the same is of record in the trial court, no question is presented to this court for its determination, and the appeal will be dismissed. Sproad v. Durland, 7 Okla. 230, 54 P. 458; Dennyv. Wright, 13 Okla. 256, 74 P. 104; Ford v. McIntosh,22 Okla. 423, 98 P. 341; Meadors v. Johnson, 27 Okla. 543,117 P. 198; Brown v. Territory, 15 Okla. 362, 82 P. 647;Kansas City, M.   O. Ry. Co. v. Fain, 34 Okla. 164,124 P. 70.
We therefore recommend that the appeal be dismissed.
By the Court: It is so ordered. *Page 535 